 

Case 8:10-cv-02211-PJM Document 26-2 Filed 01/24/11 Page 1 of 22

EXHIBIT A

Declaration of Sharon Baucom, M.D.
with attached documents
 

Case 8:10-cv-02211-PJM Document 26-2 Filed 01/24/11 Page 2 of 22

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

RANDY BUXTON #339322, *
Plaintiff, *
v. * Civil No. PIM-10-2211
SHARON BAUCOM, et al., | #
Defendants. | *
eR a Kook

DECLARATION |

I, Sharon Baucom, M.D., am competent to testify to the following based on personal
knowledge, and hereby declare under the penalty of perjury that the following is true and
correct.

1. I am the Director of Clinical Services for the Maryland Department of Public
Safety and Correctional Services (“DPSCS”). I have held that position for more than ten
years. As Director, I am an administrator. I do not practice medicine or provide medical care
to Maryland inmates. I do not prescribe or provide medications to individual inmates. I do
not determine which individual Maryland inmates should be referred for review to determine
whether they should receive antiviral treatment for Hepatitis C. I do not exercise supervisory
authority over the employees of the private medical contractors.

2. Iam familiar with the allegations made by inmate Randy Buxton # 339322. He

is housed at the Western Correctional Institution (“WCI”) in Cumberland.
 

Case 8:10-cv-02211-PJM Document 26-2 Filed 01/24/11 Page 3 of 22

3. After being informed of this lawsuit, I have reviewed pertinent medical
information concerning Plaintiff. All documents attached to this Declaration are kept and
maintained in the regular course of business of the DPSCS. Medical records were made at
or near the time of occurrence of the matters recorded therein by a person or persons having
personal knowledge of the matters recorded, or from information transmitted by such person
or persons.

4. Physicians and other personnel employed by private medical contractors have
actively treated Maryland inmates with Hepatitis C (“HCV”) since 2005, using protocols
developed and approved by a specialist in infectious diseases at the University of Maryland
Institute of Human Virology, as well as specialists from Johns Hopkins University. To date
more than 1800 inmates have been diagnosed with HCV, a virus specifically associated with
high risk behaviors such as intravenous drug use. The course of this viral disease, and its
impact on the liver, is asymptomatic and takes between 10 and 20 years to develop.
Maryland’s prison system is among the leading state correctional systems in the number of
inmates who have been successfully treated using antiviral medications. The success of the
DPSCS HCV treatment program has been cited by the legislative subcommittee on HCV in
Annapolis.

5. Under the protocols it is the responsibility of the private medical contractors
to identify inmates infected with HCV, review their cases against the protocols and

guidelines, identify those inmates eligible for HCV antiviral treatment, and refer their cases
 

Case 8:10-cv-02211-PJM Document 26-2 Filed 01/24/11 Page 4 of 22

or be deferred. See Infection Control Manual, Medical Management of Hepatitis C, attached
to this Declaration, pages 2 - 8.
6. The DPSCS review panel includes:
Director of Clinical Services (myself);
State-contracted UMMS Infectious Disease Specialist (Dr. Rufael);
State Director of Nursing;
State HCV Nurse;
Medical Contractor’s Epidemiologist;
Medical Contractor’s Regional Medical Directors;
Medical Contractor’s Site Physicians (when indicated);
Medical Contractor's Registered Nurse;
Medical Contractor’s Administrative Assistant; and
other participants as needed.

7. My role in the panel is to authorize payment to the medical contractors for the
treatment and to provide insight into the policy and procedures that govern the process. The
UMMS infectious disease specialist, Dr. Rufael, makes the decision to treat or defer
treatment, including ordering a biopsy of the liver. I am nota specialist in infectious diseases
and therefore rely on the medical judgment of the specialist. I have never over-ruled the

specialist or substituted my judgment for his.
 

 

Case 8:10-cv-02211-PJM Document 26-2 Filed 01/24/11 Page 5 of 22

8, I did not become personally aware of Plaintiff's attempt to obtain antiviral
treatment for HCV until after he filed this lawsuit, His case was presented by the medical
contractor to a DPSCS panel for review for possible treatment on September 13, 2010, Due
to Plaintiff having recently tested positive for opiate use, antiviral therapy was not indicated |
at that time. ‘There is a very high likelihood of non-responsiveness to the antiviral
medications if there is active use/abuse of illicit drugs. It was recommended that Plaintiff
undergo drug rehabilitation treatment and that his case be reviewed again in six months.
Antiviral treatment, therefore, was deferred,

[ have read the above statements, and hereby declare under the penalties of perjury

that they are true and correct.

 

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Date: fen L fu. 0 / Y beta ED
Sharon Baucom, M.D.
Director of Clinical Services

DPSCS
 

Case 8:10-cv-02211-PJM Document 26-2 Filed 01/24/11 Page 6 of 22

Infection Control Manual
Medical Management of Hepatitis C
 

Case 8:10-cv-02211-PJM Document 26-2 Filed 01/24/11 Page 7 of 22

OFFICE OF PROGRAMS AND SERVICES:
CLINICAL SERVICES

INFECTION CONTROL MANUAL

Chapter 2
MEDICAL MANAGEMENT OF HEPATITIS

Section 3
HEPATITIS C

I. Policy:

Inmates who have been diagnosed with Hepatitis C virus

(HCV) infection, shall undergo appropriate evaluation and treatment in
accordance with current standards of medical practice. HCV infected
inmates will be enrolled in chronic care clinics for education, medical
evaluation and treatment.

Il. Procedure:

A. HCV testing will be conducted where clinically indicated or in the
presence of risk factors with or without elevated LFT including, but
not limited to:

1.) HIV infection or chronic HBV infection.

2.) Signs or symptoms of acute or chronic hepatitis including
elevated enzymes or jaundice.

3.) Percutaneous exposures to blood.

4.) Chronic hemodialysis which requires the clinician to screen
ALT levels monthly and anti-HCV by immunoassay semi-
annually.

5.) Risk factors as defined by CDC.

B. Pre-test counseling will occur so that inmates are provided with
basic information regarding transmission, diagnosis and screening
measures for HCV. During the counseling session, a Pre-test
counseling form will be presented to the inmate for signature to
indicate his understanding to testing. This will be documented on
the. HCV Evaluation Work Sheet.
 

Case 8:10-cv-02211-PJM Document 26-2 Filed 01/24/11 Page 8 of 22

C. An HCV Evaluation Worksheet will be initiated by the nurse and/or
Clinician if Hepatitis C is suspected. A Hepatitis screening panel will
be drawn and sent to the lab for analysis unless record review
demonstrates previous/recent testing.

D. Post-test counseling will be conducted, and documented, for all
inmates who underwent HCV testing and will consist of:

1.) Delivery of HCV basic information,
2.) HCV lab results with basic interpretation of results, and

3.) Possible options for further treatment with review of
exclusionary criteria for antiviral treatment (for the inmates
who are found HCV positive) .

4.) Based upon the lab tests results (HCV positive vs. HCV
negative) a Post-test counseling form will be presented to
the inmate for signature to indicate his/her understanding of
the process. This will be documented on the HCV
Evaluation Work Sheet of the inmates who are tested HCV
positive.

E. A continued work up of detainees found to have Hepatitis C (HCV
antibody positive) includes:

1.) He/she will be enrolled in a Hepatitis Chronic Care clinic and
is expected to be seen by a physician every 3 months. (Non-
compliant cases that are mono-infected may be seen as
infrequently as once a year; however this should not be
encouraged and is not advisable. Such infrequent visits must
be on the order of the clinician and requires documentation

regarding the reason for the infrequency). Clinician will
document return time frames for follow up visits in the
progress notes.

a. The clinician will add the diagnosis to the Problem List in
the medical record/EMR and will initiate a written Plan of
Care (Treatment Plan).

b. At first chronic care visit, the clinician will document on
the progress notes the antibody test results and provide
further education about the management of HCV
disease.
 

Case 8:10-cv-02211-PJM Document 26-2 Filed 01/24/11 Page 9 of 22

c. The inmate will be given additional “Hepatitis C Virus:
Fact Sheets/Education sheets,” This will be documented
on the HCV Evaluation Work Sheet

d. Screening for HIV status will be completed if the HIV
Status is unknown. This will be documented on the HCV
Evaluation Work Sheet, in EMR and the Problem List.

2.) During the first visit to Chronic Care Clinic which should be
within 30 days of receipt of positive HCV test, detainee will
start receiving vaccinations for Hepatitis A and B using a
combination vaccine as appropriate. This will be
documented on the Evaluation Work Sheet.

a. Consent for immunization must be obtained and filed in
the medical record.

b. The remainder hepatitis A and B immunizations will be
completed during the inmate’s visit to the hepatitis
chronic care clinic visits per prescribed schedule.

i. Documentation of the administration of the
vaccination shall be completed on the DPSCS
immunization record.

ii. The DPSCS immunization record shall be
maintained in the patient's medical record and
documented in the EMR.

c. An alternative accelerated schedule may be used when
the clinician feels it is medically appropriate and
documents the need for the accelerated schedule.

ii. Only a recognized manufactured combination
_ Hepatitis A and Hepatitis B may be used.

iii. The combined vaccine should be administered by
intramuscular injection. It is never to be
administered intradermally or intravenously.

iv. The combined injection should be given in the
deltoid region and NOT in the gluteal region.

v. Primary immunization for adults consists of three (3)
doses, given on a 0, 1 and 6 month schedule.
 

Case 8:10-cv-02211-PJM. Document 26-2 Filed 01/24/11 Page 10 of 22

vi. The alternative dosing is a four (4) dose schedule
given on days 0, 7, and 21 to 30, followed PY a
booster at month 12. .

3.) At first chronic care clinic and prior to additional testing, if the
inmate has any of the following conditions, then he/she will
not be eligible for antiviral therapy but will be enrolled in
chronic care clinic for monitoring.

a. Age <18, or age >60 years.

b. Life expectancy less than 10 years.

c. Remaining incarceration time <24 months for genotype 1
and HIV/HCV co-infected inmates and <12 months for
genotypes 2 and 3 (provide release date)

d. History of solid organ transplant.

e. Known/documented history of autoimmune disease.

f. Known/documented compliance rate with any chronic
care conditions/visits, and/or medication adherence
<80%. (eg. Poor HgA1c, TLTBI RX, etc.)

g. Known/documented alcohol and/or illicit drug use within
previous 12 months. (Check OMSR)

h. Pregnancy
i. AIDS (CD4 <200, VL >50,000 copies
j. Decompensated liver disease
k. Decompensated mental health condition and
non compliant with mental health medications/care
plan.
|. Active, or history of, an Axis I, Il, or Ill Psychiatric -

Diagnosis unless specifically approved by both Medicine
and Psychiatry.
 

Case 8:10-cv-02211-PJM Document 26-2 Filed 01/24/11 Page 11 of 22

4.) If inmate does not have any of the above exclusionary
criteria above then he/she will undergo additional testing.

5.) Detainees who are eligible for antiviral therapy will be provided
with education regarding the HCV medical workup and the
possibility that antiviral therapy may be needed. Detainee will
sign the HCV Informed Consent Sheet to continue the workup. If
the detainee agrees, the clinician will:

a. Obtain the following lab tests:

i. Comprehensive chemistry to include at a
minimum: albumin, bilirubin, CBC, creatinine,
ALT, TSH, (HIV test with pre/post test counseling
per AIDS Administration guidelines), PT-INR, AFP,
ANA, Ferritin

ii. If female, pregnancy test,
iii. If known diabetic, Hg atc.

iv. Draw an HCV Viral Load and Genotype to
determine chronic infection (vs. Clearance of
the virus) and the type of the Hepatitis C virus.

b. Document the lab results on the HCV Initial Lab Flow
Sheet.

6.) If detainee is found to have HCV present on viral load
analysis, then general screening for antiviral treatment will
occur. Documentation of baseline HCV VL and genotype
will be placed on the HCV Initial Labs Flow Sheet, and
clinician will write an order to place the inmate on Medical
Hold using the appropriate form (DPSCS Form 130-100ir).

a. Clinician will obtain a mental health consultation for
documentation and confirmation of an. active, or history
of, an Axis | or Axis II diagnosis and submit a Psychiatry
Referral Form to the institutional psychiatrist for
confirmation of an active, or history of, an Axis | or Axis Il
diagnosis.

b. Regional: Infection Contro! Coordinator/designee will be
responsible for the submission of a copy of the
 

 

Case 8:10-cv-02211-PJM Document 26-2 Filed 01/24/11 Page 12 of 22

completed psychiatry referral form to be included with the
Hepatitis C Treatment Request packet to the DPSCS
Medical Director's office with a copy to the Statewide
Mental Health Director.

F. Upon receipt of the HCV genotype results, within 14 days the
clinician will meet with the inmate and discuss/formulate HCV
treatment plans that will include:

1.) An evaluation of laboratory results.

2.) Consultation Request for GI or ID specialist for all inmates
being considered for liver biopsy or antiviral therapy should
be requested within 30 days of treatment plan discussion
post receipt of genotype

3.) Liver biopsy:

' a. Inmates with genotype 2 or 3 will not be required to
have a liver biopsy to be considered for HCV antiviral
therapy.

b. HIV/HCV co-infected inmates will not be required to
have liver biopsy prior to consideration of antiviral
therapy. This exception can be waived at the request
of the inmate.

c. All other categories will undergo liver biopsy unless
the ID/GI specialist recommends for other clinical
reasons an alternative assessment tool like fibrosure.

4.) Inmates’ candidacy for antiviral HCV therapy.
The medical record, complete with all information recorded
as stated shall be assembled and prepared by the
Regional Infection Control Coordinator and the Statewide/
Regional Medical Director or designee and forwarded to
the DPSCS HCV coordinator prior to presentation to the
HCV panel.

5.) The inmate shall be placed on a “medical hold.”
G. If liver biopsy is a consideration prior to treatment , the clinician will

present the case at the next scheduled DPSCS clinical panel
telemedicine meeting to obtain approval for liver biopsy prior to a
 

Case 8:10-cv-02211-PJM Document 26-2 Filed 01/24/11 Page 13 of 22

request being sent to Utilization Management for approval and
authorization, and: - wee

1.) The presentation to the panel for liver biopsy must be done
as outlined in the “Biopsy Request Process” form

2.) Once the clinical panel approves a liver biopsy, the medical
provider will present the case to Utilization Management
within five days of the panel approval determination.

3.) Once approved, the liver biopsy will be scheduled and
performed within 6 weeks of the UM approval date. If not,
the reason for delay will be documented in EMR and panel
will be notified. Clinicians will follow the process as stated:

a.

If the liver biopsy is normal or indicates minimal
fibrosis — monitor and re-biopsy in three (3) years.

If the liver biopsy shows portal or bridging fibrosis and
moderate inflammation and necrosis - consider
antiviral therapy and monitoring in Chronic Care
Clinic.

If the liver biopsy shows decompensated hepatic
disease, the inmate will not be a candidate for
antiviral therapy and detainee will be followed in
Chronic Care Clinic with counseling regarding options
including consideration for medical related parole.

If the inmate refuses the liver biopsy, there will be no
further need to proceed with antiviral therapy
consideration. Clinician will:

i. Document counseling related to the
refusal of the procedure and subsequent
continued viremia and continue to see the
inmate in the Chronic Care Clinic every 3
months.

ii. Document refusal for biopsy in the Release
of Responsibility form, the EMR as well as
in the Infectious Disease database, and

ifi.: | Forward a copy of the declination of
treatment to DPSCS/HQ Infection Control
Office.
 

Case 8:10-cv-02211-PJM Document 26-2 Filed 01/24/11 Page 14 of 22

H. If detainee is proposed for ANTIVIRAL THERAPY, the clinician will
update the comprehensive medical case summary and contact the
Regional Infection Control Coordinator/designee for assembly of ©
supplemental casework.

1.) The Regional Infection Control Coordinator will assemble
and review the Hepatitis C Treatment request packet for
presentation at the next clinical panel review which will
_include:

a. Acomprehensive medical case summary

b. A complete copy of all supporting documentation
as listed on the checklist sheet ©

c. Acopy of the signed consent
d. Any refusal for treatment
e. Document any delays in testing reports or
procedures that created any default in the time
periods to be met under the protocol.
2.) The Site Medical Director or the site ID staff will document
on the HCV Evaluation Work Sheet the date reviewed,

his/her signature and forward the HCV request for antiviral
therapy to the Regional Medical Director for treatment

recommendation.
3.) The Regional Medical Director/designee will present the
“post liver biopsy” cases to the DPSCS Clinical Panel

within a period of time which should not exceed 15 days
from the time the liver Biopsy report is received.

|. |The DPSCS Clinical Panel will:
1.) Review submitted documentation for completeness.
2.) Review GID opinion and Histology report.
3.) Communicate one of the following determinations:
‘a. Pending: more information needed, |

b. Approved: Initiate treatment on site following
recommendations of specialist consultant,
 

Case 8:10-cv-02211-PJM Document 26-2 Filed 01/24/11 Page 15 of 22

c. Referred to GI or ID Specialist for concerns/further
evaluation/treatment. Consultation presentation to the
UM contractor for off site specialists should occur within 5
working days of the panel recommendations.

d. Denied: secondary to inappropriateness for antiviral
treatment, continue to monitor in Chronic Care Clinic

J. Following panel detérmination,-DPSCS Hepatitis C coordinator will
inform Utilization and Pharmacy services within 48 hrs via e-mail.

K. If antiviral drug therapy is to be initiated, the clinician will write
medical orders and send to the Pharmacy vendor within 72 hrs.

1.) A copy of the order will be sent to DPSCS Hepatitis
C nurse.

2.) Acopy of the MAR indicating when therapy starts
(first month only) will be sent to DPSCS Hepatitis C nurse.

3.) Any refusal for HCV therapy will be documented in the
medical record/ EMR of the inmate

4.) All refusals for HCV treatment must be presented to the
HCV panel for tracking and risk management.

5.) Inmate will be required to sign a “Release of
Responsibility” form indicating that she/he has
refused therapy.

6.) Acopy of the “Release of Responsibility” form
will be sent to the DPSCS Hepatitis Coordinator
and the pharmacy vendor.

L. Community Initiated HCV therapy continuation:
During the intake process, any inmates identified to be on HCV
antiviral therapy will be referred immediately to the Medical
Provider to assure continuity of treatment. The Medical Provider or
designee will:

1.) immediately obtain medical records from the community
provider to verify the patient’s treatment modality via release
of information form signed by the inmate.
 

Case 8:10-cv-02211-PJM Document 26-2 - Filed 01/24/11 Page 16 of 22

2.)

3.)

4,)

5.)

document date of request for medical record in the patient ‘s
medical record/EMR.

notify the Regional medical director and OIHS HCV Nurse
/Medical director via e-mail with data regarding approval for
continuation of community treatment medications for HCV
disease including:

inmate’s name

inmate’s DOC number

community provider

genotype

Medications being used for HCV therapy continuation.

o2907D

document OIHS permission to continue antiviral therapy.

complete a non formulary request to obtain a “bridge” order
approval from the Regional Medical Director to continue HCV
medications for 30 days.

present the case to HCV panel the next HCV panel meeting
date.

following the panel’s determination, DPSCS Hepatitis C
coordinator will inform Utilization Management and the
Pharmacy services within 48 hrs via e-mail:

inmate’s name
inmate’s DOC number
community provider
- genotype
Medications being used for HCV therapy continuation

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M. Liver transplant considerations: Any HCV positive inmate who has
been identified as.a potential candidate for liver transplant or
enters our system already on a liver transplant listing will be
presented to the panel for evaluation and recommendations.
DPSCS does not make the determination of candidacy for
transplantation eligibility; however, the panel may recommend the
following:

1.) Referral of inmate to UMMS transplant panel for further

recommendations.

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Case 8:10-cv-02211-PJM Document 26-2 Filed 01/24/11 Page 17 of 22

2.) Ona case by case basis, consideration for parole as well
as transport to a security based facility with 24 hour
infirmary services will be made. The inmate will be placed
on medical hold.

N. Palliative Care/Hospice
A living will shall be facilitated by medical/mental health. In the
event a liver donor is not found or transplant is not an option
and parole is denied, the inmate shall be counseled regarding
options, living will, hospice care, etc...

1.) A designated relative or friend will be identified and assigned
limited power of attorney to facilitate options in a living will
with assistance from pastoral services.

2.) A copy of the living will shall be given to the inmate and
placed in hard copy medical records and noted in EMR.

O. HBV/HCV co-infection: .
Therapy is also provided to inmates who are HCV/HBV co-infected
and these cases must be presented to the Hepatitis Panel for
recommendations of treatment.

lil. References: A. Mandell, Douglas and Bennett’s Principles and
Practice of Infectious Disease, fourth Edition,

Volume |, 1995
B. Federal Bureau of Prisons, Clinical Practice

Guidelines for the Prevention and Treatment of
Viral Hepatitis, October, 2005.

C. Sulkowski MS, Thomas DL. Hepatitis C in the
HIV-infected person. Ann Intern Med 2003:
. 138:197-207.

D. Alvess C, Yee H et al. Practice guide,
Management and Treatment of Hepatitis C
Viral Infection: Recommendation From the
Department of Veterans Affairs Hepatitis C
Resource Center Program and the National
Hepatitis C Program Office.

E. Gastroentrology 2006; 101; 2360-2378

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Case 8:10-cv-02211-PJM Document 26-2 Filed 01/24/11 Page 18 of 22

F.  Stradler D.B., Wright T et al. AASLD Practice
Guidelines, Diagnosis, Management and
Treatment of Hepatitis C. Hepatology 2004;
39; 1147-1171

IV. Rescissions: None
V. Date Issued: September 2005
Reviewed and revised : September 23, 2009

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Patient Name DPSCS NO: Facility
(LAST) (First) (ml) [SID NO:
REVIEW/DOCUMENTATION OF EXCLUSIONARY CRITERIA
YES NO
- C] ‘ CI Age <18, or age >60 Age:
CL] CI Life expectancy less than 10 years
CI : CL] Remaining incarceration time <24 months Rel. Date:
CT] CJ History of solid organ transplant
| C] Known/docuniented history of autoimmune disease
CT] C_] Adherence to any chronic care visits and/or medication adherence <80% ___% Compliance
(eg. Poor Hg Alc, TLTBI RX, etc)
C] _] Known/documented alcohol and/or illicit drug use within previous 12 months.
(OMSR Verified) Date:
C_] [ ] Pregnancy
C] CL] AIDS CD4 <200; VL >50,000 copies
LC] | Decompensated liver disease
| LC Decompensated Mental Health Condition .
C] CL] Mental Health DX (or H/O DX): Axist [_] aAxist []
HCV Pre-Test Counseling Conducted DATE: "By: ZZ
HCV Informed Consent Signed/Declined DATE: By:
HCV Antibody Drawn DATE: By:
HCV Post-Test Counseling Conducted DATE: By:
Enrolled in Chronic Care Clinic DATE: By:
HCV Patient Education Provided DATE: By:
HCV Pt. Info Sheet Given DATE: By:
If HIV status unknown:
Date of HIV Test DATE: Results
Vaccinations:
Hepatitis A DATE: By:
DATE: By:
Hepatitis B DATE: By:
DATE: By:
DATE: By:
Twinrix DATE: By:
DATE: By:
DATE: By:
ID/GI consult DATE: By:
HCV Viral Load Drawn DATE: By:
General Screening Performed DATE: By:
HCV Genotype testing DATE: TYPE:
Risk Strat/TX Options Reviewed with Pt. | DATE: By:
DPSCS PANEL REVIEW FOR LIVER BIOPSY Date Reviewed: Comments
Liver Biopsy Recommendation YES NO DPSCS concurs
By ID/GI consult C] Cc] |
Signature
Referral to Site Medical Director/Site ID staff for Review Date Reviewed: Signature
Referral to Regional Medical Director for Review Not Appropriate for Therapy | Recommend Therapy [_]
Date Reviewed: Signature:
Submission of Case to DPSCS Panel: Date: By:
Received at DPSCS/HQ Date: By:
Notification of Pt Transfer to Date: By:
Region:

 

revised 7/06 by Ghislaine Midy, RN, Ms

Appendix 1

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Page 14 of 22

 
 

HCV and/or HIV Testing |

 

 

Date:

 

 

 

 

 

   

 

 

 

 

 

 

Demographics Ls = Vaccinations Follow: Up:
2.2,1.21.3.5 -
documentation
HCV that inmate has
Evaluation received Thereisa |2.2.1.21.3.2 2.2.1.21.3.2
Intake Worksheet was education form signed by|Documentation |Documentation | 2.2.1.21.3.4
Screening initiated on Documentation] including info re: | the inmate jof Hep A of Hep B Inmate is Blood
indicates S/S |Inmate with 2.2.1.21.3.5.1 | 2.2.1.21.3.5.1 | of HIV/HCV | potential for anti- | re:having {vaccination or |vaccination or seen in ID chemistries and| Referral
of HCV and [positive HiV or | Documentation | Documentation status on viral therapy received —_ natural natural clinic g.6 |Referral liver function | Made to
or HIV risk |HCV testing is of pre-test of post-test Problem telated to his education on jimmunity in immunity in months Made to | tests are found} Mental
Inmate |behaviors seen counseling counseling lisvEPHR disease disease {Med Rec/ Med Rec/ minimally [Dental in the record Health
La First Name # _|YIN YIN YIN YIN YIN YIN YIN EPHR YIN|EPHR YIN YIN (YIN) YIN (YIN)

 

 

 

 

 

 

 

 

 

 

 

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Case 8:10-cv-02211-PJM Document 26-2 Filed 01/24/11 Page 21 of 22
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APPENDIX 1b
DEPARTMENT OF PUBLIC SAFETY AND CORRECTIONAL SERVICES
DPSCS HEPATITIS C CLINICAL PANEL REVIEW
Patient Name DPSCS NO: Facility

 

 

(Last) (First) (Ml) SID NO:

 

DPSCS Hepatitis C Clinical Panel Determination:
C] Pending: More information needed (see below)
C] Approved: Proceed with appropriate interferon/ribavirin protocol
C] Referred: to GI or ID Specialist for futher evaluation
LC] Denied: Not Appropriate for Antiviral RX continue to monitor in CCC
[-] Copy of liver Biopsy and Histology
Recommendations/Reasons:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DPSCS Medical Director Signature: Date:

 

DPSCS Infectious Disease Consultant Signature: Date:

 

 

 

revised 7/06 by Ghislaine Midy, RN, Ms
Appendix 1 Page 15 of 22
